            Case 4:20-cv-08197-YGR Document 63 Filed 12/03/21 Page 1 of 2
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      Steven M. Cowley (admitted pro hac vice)




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11    HUSSEY

12
                            IN THE UNITED STATES DISTRICT COURT
13
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
14

15   TOM HUSSEY PHOTOGRAPHY, LLC and                 Case No. 4:20-cv-08197-YGR
     TOM HUSSEY,
16
                         Plaintiffs,
17                                                   JOINT STIPULATION OF DISMISSAL
               v.                                            WITH PREJUDICE
18
     FAMILY MATTERS IN-HOME CARE LLC,
19
                         Defendant.                  Judge: Yvonne Gonzalez Rogers
20                                                   Complaint Filed: November 11, 2020
                                                     Trial Date:
21
     FAMILY MATTERS IN-HOME CARE LLC,
22
                         Third Party Plaintiff,
23
               v.
24
     JAMES BOWEN, RIPEN DIGITAL LLC, and
25   ROES 1-25

26                       Third Party Defendants.

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     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE                         CASE NO. 4:20-cv-08197-YGR
            Case 4:20-cv-08197-YGR Document 63 Filed 12/03/21 Page 2 of 2




 1                      JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
 2
               Plaintiffs Tom Hussey Photograph, LLC and Tom Hussey, Defendant and Third Party
 3
     Plaintiff Family Matters In-Home Care LLC and Third Party Defendants James Bowen and Ripen
 4
     Digital LLC hereby jointly stipulate, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), to the dismissal of
 5

 6   the above-captioned action in its entirety, including all claims, counterclaims and third-party claims,

 7   with prejudice. Each party is to bear its own costs, expenses, and attorneys’ fees.

 8   Dated: December 3, 2021
 9   DUANE MORRIS, LLP                             ERICKSEN ARBUTHNOT
10

11   By: /s/ Steven M. Cowley                      By: /s/ Sharon L. Hightower
        Steven M. Cowley                               Sharon L. Hightower
12      Holden Benon                                   Laura E. Malkofsky
        Bridget S. Cho
13                                                      Attorneys for Defendant and Third Party
          Attorneys for Plaintiffs Tom Hussey           Plaintiff Family Matters In-Home Care LLC
14
          Photography, LLC and Tom Hussey
15
                                                     TURNBOW LAW FIRM
16

17                                                   By: /s/ C. William Turnbow
18                                                        C. William Turnbow

19                                                          Attorneys for Third Party Defendants James
                                                            Bowen and Ripen Digital LLC
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     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE                               CASE NO. 4:20-cv-08197-YGR
